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                               UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                          O RLANDO D IVISION

   BARBARA J. BARRINGTON,

                                 Plaintiff,

   -vs-                                                             Case No. 6:05-cv-1601-Orl-KRS

   LOCKHEED MARTIN, ET AL.,

                           Defendants.
   ________________________________________

                                                ORDER

   I.     INTRODUCTION.

          On March 16, 2007, the Court entered an order denying the motion for summary judgment

   filed by Plaintiff Barbara J. Barrington, and granting the motions for summary judgment filed by

   Defendants Lockheed Martin Corporation (LMC) and U.A.W. Local 788 (Local 788). Doc. No.

   142. Judgment was entered in favor of LMC and Local 788 on March 19, 2007. Doc. No. 143.

          Local 788 then submitted a proposed bill of costs, doc. no. 145, which was taxed by the

   Clerk of Court, doc. no. 146. Barrington filed a motion for relief, which the Court construed as an

   objection pursuant to Federal Rule of Civil Procedure 54(d)(1). Doc. No. 147. The Court directed

   Local 788 to provide evidence in support of the costs, and to address the propriety of taxing costs

   against a party who had been granted leave to proceed in forma pauperis, as Barrington had been.

   Doc. No. 148; see also Doc. No. 5. Local 788 responded, doc. no. 152, and submitted an

   Amended Proposed Bill of Costs seeking fewer costs, doc. no. 153.

          In the meantime, LMC filed a proposed bill of costs, doc. no. 150, and Defendant

   Lockheed Martin Corporation’s Motion to Tax Costs With Supporting Memorandum of
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   Law/Memorandum in Opposition to Plaintiff’s Motion for Relief, doc. no. 151. In addition to

   requesting costs, LMC addressed the issues raised in the Court’s Order to Local 788.

            Barrington filed a response to LMC’s motion, which also addresses issues raised in the

   dispute with Local 788. Doc. No. 155. Barrington also filed a notice of appeal, and motion for

   leave to proceed in forma pauperis on appeal. Doc. Nos. 156, 158. The matter is ripe for review.

   II.      APPLICABLE LAW.

            Federal Rule of Civil Procedure 54(d)(1) provides that “costs other than attorneys’ fees

   shall be allowed as of course to the prevailing party unless the court otherwise directs . . . .” The

   Supreme Court has held that 28 U.S.C. § 1920 “enumerates expenses that a federal court may tax

   as costs under the discretionary authority found in Rule 54(d). It is phrased permissively because

   Rule 54(d) generally grants a federal court discretion to refuse to tax costs in favor of the

   prevailing party.” Crawford Fitting Co. v. J.T. Gibbons, Inc. 482 U.S. 437, 441-42 (1987). A

   court cannot award costs other than those specifically authorized in § 1920, unless authorized by

   another applicable statute. See EEOC v. W&O, Inc., 213 F.3d 600, 620 (11th Cir. 2001)(citing

   Crawford, 482 U.S. at 445). The Court can only award costs that are “adequately described and

   documented.” Scelta v. Delicatessen Support Servs., Inc., 203 F. Supp. 2d 1328, 1340 (M.D. Fla.

   2002).

            The following are allowable as costs under § 1920:

            (1)    Fees of the clerk and the marshal;

            (2)    Fees of the court reporter for all or any part of the stenographic transcript
                   necessarily obtained for the use in the case;

            (3)    Fees and disbursements for printing and witnesses;


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          (4)     Fees for exemplification and copies of papers necessarily obtained for use in the
                  case;

          (5)     Docket fees under 28 U.S.C. § 1923; and

          (6)     Compensation of court appointed experts, interpreters, and salaries, fees, expenses
                  and costs of special interpretation services.

   Id.

          Other litigation expenses, including “facsimiles, long distance telephone calls, couriers,

   express mail, computerized legal research, attorney travel and lodging, postage, search services,

   office supplies, attorney meals, secretarial services, mediation and expert witness fees are not

   compensable under § 1920 because these expenses are not enumerated in the statute.” Scelta v.

   Delicatessen Support Servs., Inc., 203 F. Supp. 2d 1328, 1339 (M.D. Fla. 2002).

          The statute applicable to in forma pauperis proceedings, 28 U.S.C. § 1915(f)(1), provides

   that “[j]udgment may be rendered for costs at the conclusion of the suit or action as in other

   proceedings,” subject to certain exceptions not applicable here. While the United States Court of

   Appeals for the Eleventh Circuit has not directly ruled on the issue of costs under § 1915(f) and

   Rule 54(d), in Harris v. Forsyth, 742 F.2d 1277, 1278 (11th Cir. 1984), the court assessed costs

   against a party proceeding in forma pauperis under § 1915(f) and a Federal Rule of Appellate

   Procedure similar to Rule 54. In support of that decision, the Eleventh Circuit cited approvingly

   the Fourth Circuit’s decision in Flint v. Haynes, 651 F.2d 970, 972 (4th Cir. 1981), which upheld a

   district court’s award of costs under Rule 54(d) against a party proceeding in forma pauperis. This

   strongly suggests that the Eleventh Circuit would permit the taxation of costs under Rule 54(d)

   against a litigant proceeding in forma pauperis. Furthermore, other appellate courts have



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   consistently reached similar results. See, e.g., Whitfield v. Scully, 241 F.3d 264, 270 (2d Cir. 2001)

   (“There is also widespread agreement among the courts of appeals that indigency per se does not

   preclude an award of costs against an unsuccessful litigant . . . .”).

           Thus, costs may be taxed against a litigant proceeding in forma pauperis unless the Court

   in its discretion determines not to award costs. Because Rule 54(d) provides that costs should be

   awarded as a matter of course, there is a presumption in favor of awarding costs. “To defeat the

   presumption and deny full costs, a district court must have and state a sound basis for doing so.”

   Chapman v. AI Transport, 229 F.3d 1012, 1039 (11th Cir. 2000) (en banc). “[A] non-prevailing

   party’s financial status is a factor that a district may, but need not, consider in its award of costs

   pursuant to Rule 54(d).” Id.; see also, e.g., Rodriguez v. Whiting Farms, Inc., 360 F.3d 1180,

   1190 (10th Cir. 2004) (“[T]he indigent status of the non-prevailing party and the presentation of

   issues that are close and difficult” may be considered by the court in exercising its discretion under

   Rule 54(d).); In re Paoli R.R. Yard PCB Litigation, 221 F.3d 449, 464 (3d Cir. 2000) (“If the

   losing party cannot afford to pay [costs], that party is not automatically exempted from the taxation

   of costs. . . . [However], a party may be exempted from costs if he is in fact indigent, if he has

   adduced evidence that he indigent, and if the district court sees fit to reduce the costs award

   imposed for reasons of equity.”) (internal citations and quotations omitted).1

           Courts have also considered a variety of other factors. See generally Charles Alan Wright,

   Arthur R. Miller & Mary Kay Kane, 10 Fed. Prac. & Proc. § 2668 at 234-38 & 234 n.15 (3d ed.



           1
             Barrington cites Rule 54(e), which provides that costs may not be awarded under Rule 54
   as sanctions for violations of the civil rules. Because the defendants seek post-judgment costs
   pursuant to Rule 54(d), not sanctions, this restriction in inapplicable.

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   1998)(collecting cases). A district court must “explicitly state its reasons for denying costs.”

   Holton v. City of Thomasville School Dist., 425 F.3d 1325, 1355 (11th Cir. 2005).

   III.   ANALYSIS.

          The parties discuss three principal reasons why costs are or are not appropriate. First,

   whether Barrington is indigent. Second, whether the defendants unreasonably increased the costs

   of the action. Third, whether Barrington’s complaint was filed in bad faith or was frivolous.

   Under Federal Rules of Civil Procedure 54(d) and 58, a district court retains jurisdiction to resolve

   disputes over the taxation of costs despite the filing of a notice of appeal. See Lucas v. Florida

   Power & Light Co., 729 F.2d 1300, 1301-02 (11th Cir. 1984) (“There is no need to delay entry of

   judgment pending taxing of costs, since a motion to review taxation of costs may be passed upon

   by the district court while an appeal is pending.”); see also Rothenberg v. Sec. Mgmt. Co., 677

   F.2d 64 (11th Cir. 1982) (“It is well settled in this circuit that costs may be taxed after a notice of

   appeal has been filed.”).

          A.        Taxable Costs.

                    1.    Local 788.

          Costs were originally taxed in favor of Local 788 in the amount of $701.55. Doc. No. 146.

   The Amended Proposed Bill of Costs filed by Local 788 requests $496.56 in costs. Doc. No. 153.

   Local 788 has submitted the Affidavit of Angela D. Twomey, a legal assistant, in support of the

   Amended Proposed Bill of Costs. Doc. No. 154. Twomey breaks down the cost request by

   category, and she attached receipts and other documents in support of the costs. Doc. No. 154-2

   through 154-9.



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          The evidence submitted indicates that Local 788 incurred $63.88 in fees of the court

   reporter for preparation of the transcript of a hearing held on November 16, 2006. Doc. No. 154-8

   at 1. “Fees of the court reporter for all or any part of the stenographic transcript necessarily

   obtained for the use in the case” are reimbursable under § 1920(2). Local 788 did not rely on this

   transcript in support of its motion for summary judgment or in opposition to Barrington’s motion

   for summary judgment. Accordingly, Local 788 has not documented how this transcript was

   necessarily obtained for the use in the case.

          The evidence indicates that Local 788 incurred $105.00 in costs for certified copies of the

   depositions of Barbara Klein and Georgi-Ann Bargamian. Doc. No. 154-8 at 2. The Eleventh

   Circuit has concluded that § 1920 includes deposition costs that were incurred for use in the case,

   but does not include deposition costs incurred merely for convenience or investigation. W&O, 213

   F.3d at 620-21. Local 788 used both of Klein’s and Bargamian’s depositions in connection with

   the motions for summary judgment. Accordingly, these costs are taxable under § 1920.

          Local 788 also incurred $114.58 in photocopying costs. Doc. No. 154-3 (internal

   photocopying) and Doc. No. 154-4 (external photocopying). Under § 1920 “[a] prevailing party

   may recover photocopy costs for copies that the ‘party could have reasonably believed’ were

   necessary to the litigation.” George v. GTE Directories Corp., 114 F. Supp. 2d 1281, 1299 (M.D.

   Fla. 2000) (citing W&O, 213 F.3d at 623). “To recover for photocopy expenses, a prevailing party

   must produce adequate documentation to show that the copies at issue were reasonably intended

   for use in the case.” Id.; accord Cullens v. Ga. Dep’t of Transp., 29 F.3d 1489, 1494 (11th Cir.




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   1994) (disallowing copying costs because the plaintiff failed to provide evidence of the

   documents’ use or intended use).

          Some photocopying is necessary in any litigation, and in this case, some photocopying was

   necessary for service of documents on Barrington. However, convenience copies for a client are

   not reimbursable. Local 788 has provided no explanation of what copies were made or why they

   were necessary. Absent such a showing, these photocopying costs are not taxable. George, 114 F.

   Supp. 2d at 1299.

          Local 788 seeks $30.00 for service of a subpoena on Barrington. See Doc. No. 154-2.

   This expense is not compensable because, at a hearing held on November 16, 2006, counsel for

   Local 788 indicated that the subpoena was used to obtain discovery documents to circumvent the

   time to served a response to a request for production of documents under Federal Rule of Civil

   Procedure 34, which response would have been due after the discovery deadline established by the

   Court. Doc. No. 133, Hearing of Nov. 16, 2006, Tr. at 10-11. It is improper to use a Rule 45

   subpoena for the express purpose of circumventing the response time provided to a party under

   Rule 34 and the Court’s discovery deadline. Cf. Joiner v. Choicepoint Servs., Inc., Civil No.

   1:05CV321, 2006 WL 2669370, at * 5 (W.D.N.C. Sept. 15, 2006)(finding “use of a subpoena

   duces tecum under Rule 45 to bypass the requirements of Rule 34’s guidelines on document

   disclosure is ‘unthinkable.’” (internal citations omitted)).

          Local 788 also seeks $30.89 in PACER costs. Doc. No. 154-5. Many of the requested

   PACER costs are for documents from other cases, and are not supported by a showing that they

   were necessarily obtained for use in this case. Accordingly, such costs are not taxable. With



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   respect to PACER documents from this case, under the Administrative Procedures for Electronic

   Filing in Civil and Criminal Cases for the Middle District parties get “one free look” at any

   documents filed electronically, which may then be printed or otherwise saved for future use.

   Because these documents are available initially without charge, it is difficult to imagine why

   additional copies were necessarily obtained for use in this case. Therefore, no PACER costs are

   properly taxable.

          Local 788 seeks $33.08 in courier services fees. Fees of a courier service are not generally

   taxable. Scelta, 203 F. Supp.2d at 1339; Harris v. Ga. Dep’t of Corrections, No. 7:03-CV-33

   (HL), 2006 WL 3762067, at *3 (M.D. Ga. Dec. 20, 2006).

          Local 788 also seeks certified mail and facsimile costs of $100.18, because Barrington

   requested that all communications with her be sent by certified mail. Mailing costs are not

   generally taxable. Harris, 2006 WL 3762067, at *3. Moreover, the exhibit submitted to support

   this request, doc. no. 154-7, is blank. Therefore, Local 788 has failed to submit sufficient evidence

   to support this request.

                  2.      LMC.

          LMC seeks costs in the amount of $1,604.70 for fees of the court reporter for Barrington’s

   deposition, and for certified copies of the depositions of Barbara Klein and Georgi-Ann

   Bargamian. Doc. No. 150-2. All of these depositions were used in connection with the motions

   for summary judgment. Accordingly, these costs are taxable under § 1920.

          LMC also seeks $814.00 for copies. Doc. No. 150-3. LMC’s records indicate that the

   copies made were for every docket entry in this case. Doc. No. 150-3. Many of the copies were



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   for the client. Id. Such copies are not taxable. Cf. Maris Distrib. Co. v. Anheuser-Busch, Inc.,

   Case No. 5:97-cv-15-OC-10C, 2001 WL 862642, at *5-6 (M.D. Fla., May 4, 2001); Goodwall

   Constr. Co. v. Beers Constr. Co., 824 F. Supp. 1044, 1065 (N.D. Ga. 1992). Other copies for the

   Court and service copies to counsel for Local 788 and Barrington are taxable.

          Based on a review of LMC’s exhibit, LMC incurred $289.75 in copy costs that were not

   client copies.2 Therefore, this amount is taxable under § 1920.

          Therefore, $1,894.45 in costs of the court reporter, for certified copies of depositions used

   in connection with the motions for summary judgment, and non-client copy costs would be taxable

   in favor of LMC.

          Based on the foregoing, if costs are taxed against her, Barrington faces an award of costs in

   the amount of $1,999.45, as follows: $105.00 for costs incurred by Local 788, and $1,894.45 for

   costs incurred by LMC.

                  3.     Whether the Defendants Unreasonably Increased the Costs.

          Barrington contends that if this case had not been designated as a track-two case, the

   parties would have incurred fewer costs. Doc. No. 147 at 3. This case was designated as a track-

   two case by the Court, based upon the request of the defendants to conduct discovery. Doc. Nos.

   57, 63. Inasmuch as Barrington challenged, among other things, the nature of her representation

   by, and her relationship with, various Union personnel, this discovery was necessary to the

   consideration of her case.




          2
           This figure is derived by deducting the value of all client copies from those instances in
   which LMC made multiple copies.

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          Once the case was redesignated, Barrington took advantage of the rights afforded her under

   the rules of civil procedure, and took several depositions, including the depositions of Barbara

   Klein, Georgi-Ann Bargamian, and Ron Gettelfinger. She relied on those depositions in support

   of her motion for summary judgment and response to the defendants’ motions for summary

   judgment. See Doc. Nos. 128, 134. Under these circumstances, I conclude that the defendants did

   not unnecessarily multiply the costs or proceedings in this case, and that a reduction in taxable

   costs is not warranted based on this argument.

          B.      Barrington’s Ability to Pay Costs.

          Barrington argues that she should be excused from paying costs because she is indigent.

   The Court permitted Barrington to proceed in forma pauperis in this case. Doc. No. 5. In support

   of her argument that she is currently indigent and unable to pay costs, Barrington submitted her

   own affidavit, doc. no. 155-2 at 1; the Affidavit of Ruth Jorden, id. at 2; the statement of Debra

   Gude,3 id. at 3; and a letter received from someone whose signature is illegible, id. at 4. She also

   submitted a receipt from a pawn shop, indicating that she pledged personal property (which

   Barrington writes was her wedding ring) for a loan, doc. no. 155-3 at 1; and a scholarship award

   letter for her son, doc. no. 155-3 at 2. Cf. Doc. No. 158 (materials submitted in support of motion

   to proceed in forma pauperis on appeal).

          In her affidavit, Barrington avers that she has not worked since she was terminated by

   LMC in March 2004, except to perform small services for friends. Doc. No. 155-2 at 1. Her

   husband, from whom she is separated, makes the house payment. Id. Because of indigency, she


          3
           The statement is not attested to by a notary and does not contain the language required for
   an unsworn declaration under 28 U.S.C. § 1746.

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   has put her son on Medicaid. Id. She avers, “I cannot afford to pay the defendants[’] fees. [They]

   seem to believe that I can get others or ask someone to pay their fees. They both are wrong, the

   fees would be on me to pay and no one else is responsible for it.” Id. She also avers that if she

   had known that the Court could have awarded costs, she “would have never filed the case.” Id.

           These materials establish that Barrington does not have the present financial ability to pay

   taxable costs.

           C.       Bad Faith or Frivolous Litigation.

           Local 788 and LMC argue that despite Barrington’s inability to pay costs, an award of costs

   is nevertheless appropriate because Barrington’s complaint was frivolous and because she acted in

   bad faith during the litigation.

                    1.     The Complaint Was Not Frivolous.

           “In determining whether a suit is frivolous, a district court must focus on the question

   whether the case is so lacking in arguable merit as to be groundless or without foundation rather

   than whether the claim was ultimately successful.” Sullivan v. School Bd. of Pinellas County, 773

   F.2d 1182, 1189 (11th Cir. 1985) (internal quotations and citations omitted). “Determinations

   regarding frivolity are to be made on a case-by-case basis.” Id. Additionally, “[a]n unrepresented

   litigant should not be punished for his failure to recognize subtle factual or legal deficiencies in his

   claims.” Hughes v. Rowe, 449 U.S. 5, 15 (1980) (applying Title VII fee shifting standard).

           Having carefully considered the record before ruling on the motion for summary judgment,

   and as reflected in the twenty-four page order on the motions for summary judgment, I find that

   the complaint was not frivolous.



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                   2.      Bad Faith During the Litigation.

           LMC argues that Barrington engaged in a pattern of abusive conduct, which makes an

   award of costs equitable. Doc. No. 151. Among other things, LMC references instances when

   Barrington threatened to bring disciplinary actions against counsel for Local 788 or LMC, accused

   counsel of trying to “trick” her, and made derogatory remarks about counsel. See Doc. No. 151.

   Barrington, on the other hand, details what she perceives as mistreatment by the defendants and

   their counsel. See Doc. No. 147.

           Based on a review of the documents submitted by the parties, and based on my familiarity

   with the entire record in this case, it is clear that this has been a frustrating experience for all

   parties involved. Viewed as the product of this frustration, I cannot conclude that Barrington’s

   actions representing herself in this case rise to actionable bad faith that would support a

   requirement that she pay costs as a form of sanction for her conduct.

   IV.     CONCLUSION.

           Based on the analysis set forth above, I conclude that this is a case in which it is equitable

   and appropriate to relieve Barrington from the obligation to pay taxable costs. It is undisputed that

   she does not have the present ability to pay the costs. The issues she raised in her complaint were

   not frivolous; indeed, the issues raised by her case were difficult, both legally and factually.       No

   other basis exists to conclude that an award of costs would be appropriate as a sanction for bad

   faith behavior during the litigation.

           Accordingly, Barrington’s Motion for Relief, doc. no. 147, which is construed as an

   objection under Federal Rule of Civil Procedure 54(d)(1) is GRANTED. The Bill of Costs



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   previously taxed in favor of Local 788, doc. no. 146, is VACATED. The Amended Proposed Bill

   of Costs by Local 788, doc. no. 153, may not be taxed by the Clerk of Court. Defendant Lockheed

   Martin Corporation’s Motion to Tax Costs, doc. no. 151, is DENIED.

          DONE and ORDERED in Orlando, Florida on May 3, 2007.

                                                               Karla R. Spaulding
                                                             KARLA R. SPAULDING
                                                       UNITED STATES MAGISTRATE JUDGE

   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




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